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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                       Chapter 7

 DURA AUTOMOTIVE SYSTEMS, LLC, et                             Case No. 19-12378 (KBO)
 al.,1
                                                              (Jointly Administered)
                     Debtors.
                                                              Re: Docket No. 1415, 1419

AGREED ORDER GRANTING MOTION OF LYNN G. TILTON AND KEVIN GRADY
 FOR AN ORDER AUTHORIZING PAYMENT OF DEFENSE COSTS AND OTHER
 LOSS UNDER DIRECTORS AND OFFICERS LIABILITY INSURANCE POLICIES

           Upon consideration of the unopposed motion (the “Motion”) of Lynn G. Tilton and Kevin

Grady, for entry of an order authorizing the Insurers2 to pay Defense Costs and other Loss

(including any settlement amounts or judgments), in accordance with and subject to the terms and

conditions of the D&O Policies issued by the Insurers to DAS; and the Court having jurisdiction

to consider the Motion and the relief requested therein in accordance with 28 U.S.C. § 1334 and

the Amended Standing Order; and consideration of the Motion and the relief requested therein

being a core proceeding in accordance with 28 U.S.C. § 157(b)(2) on which the Court may enter

a final order consistent with Article III of the United States Constitution; and venue being proper

in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and in consideration of any timely response

in opposition to the Motion, and after notice and an opportunity for a hearing pursuant to 11 U.S.C.

§ 102(1); and the Court having found and determined that the relief sought in the Motion is in the

best interests of the Debtors’ estates, their creditors, and other parties in interest and that the legal


    1
      The debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
    identification number, are: Dura Automotive Systems Cable Operations, LLC (7052); Dura Automotive Systems,
    LLC (8111); Dura Fremont L.L.C. (1252); Dura G.P. (8092); Dura Mexico Holdings, LLC (4188); Dura
    Operating, LLC (2304); and NAMP, LLC (3693). Dura Automotive Systems, LLC’s service address is: 1780
    Pond Run, Auburn Hills, Michigan 48326.
    2
        Capitalized terms not defined herein shall have the definitions ascribed to them in the Motion.
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and factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor, it is hereby ORDERED:

       1.      The Motion is granted as set forth herein.

       2.      To the extent the D&O Policies (including the DIC Policy) or the proceeds of such

policies are property of the estate, the Court hereby modifies the automatic stay to permit payment

of Defense Costs or other Loss, including any judgment or settlement, in accordance with and

subject to all of the terms and conditions of the D&O Policies (including the DIC Policy).

       3.      Without further order of this Court or notice to any party, the Insurers are

authorized, but not directed, to make payments or advance Defense Costs or other Loss in

accordance with and subject to all of the terms and conditions of the D&O Policies (including the

DIC Policy) and any documents related thereto.

       4.      Nothing in this Order (a) represents a ruling as to the applicability or extent of

coverage under the D&O Policies (including the DIC Policy) or (b) shall be construed as or

deemed: (i) an admission as to the validity of any claim (including any claim for Defense Costs or

other Loss); (ii) waiver of any rights of any of the Debtors or the Insurers to dispute any claim

(including any claim for Defense Costs or other Loss) on any ground; or (iii) a promise by any of

the Debtors or the Insurers to pay any claim (including any claim for Defense Costs or other Loss).

       5.      Nothing in this Order alters, amends, modifies, revises, or otherwise changes any

term or condition of the D&O Policies (including the DIC Policy) and any documents related

thereto, or of any other insurance policy issued by any of the Insurers or any agreements related

thereto.

       6.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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       7.      The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.




   Dated: July 14th, 2022                             KAREN B. OWENS
   Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE



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